                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                             Plaintiff,       )
                                              )
              v.                              )    No. 2:11-cr-04004-FJG-2
                                              )
KRYSTLE ANN GEZENDORF,                        )
                                              )
                             Defendant.       )


                          ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation (Doc. #56 filed June 15, 2011) of United States

Magistrate Judge Matt J. Whitworth, to which no objection has been filed, the plea of guilty to

Count 1of the Superseding Indictment filed March 17, 2011, is now accepted. Defendant is

adjudged guilty of such offense(s). Sentencing will be set by subsequent order of the court.




                                                    /s/ Fernando J. Gaitan, Jr.
                                                   Fernando J. Gaitan, Jr.
                                                   Chief United States District Judge

Dated: July 7, 2011
Kansas City, Missouri




       Case 2:11-cr-04004-FJG             Document 62   Filed 07/07/11     Page 1 of 1
